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 production in the next few days) until it has substantially completed producing documents in

 response to the FTC’s first set of requests. Meta is open to discussing with the FTC potential

 ways to prioritize the production of specific categories of documents. Finally, Meta notes that

 the FTC recently served a second and third set of document requests, the objections to which

 are not due until August 11. Meta’s good-faith estimate of November 30, 2022, excludes any

 production in response to the second and third requests. A good-faith estimate for those

 productions will depend on further analysis, as well as on negotiations with the FTC over

 additional custodians or search terms (if any).

II.    FTC’s Statement

       Meta should devote sufficient resources to comply promptly with the FTC’s First Set of

Requests for Production (“RFPs”), which were served on February 15, 2022. Meta has proposed

to substantially comply by November 30, 2022 (with a privilege log to follow January 16, 2023),

but has not provided to the FTC even an approximate estimate of the volume of documents that

Meta intends to review. The FTC lacks this information despite the fact that the parties reached

complete agreement on custodians and search terms more than six weeks ago. Absent this

information, which the FTC has requested, the FTC cannot conclude that Meta’s November 30

proposal is reasonable, or whether Meta instead should be able to complete its production by

October 31. Meta’s November 30 proposal should be evaluated in light of the significant

number of party and third-party depositions anticipated – each party has up to 840 hours of

deposition time, which suggests 200 or more depositions may be conducted over the coming

winter and spring. The FTC believes that an October 31 date for completing production will

allow depositions to proceed in a timely manner, while a November 30 date may strain the

FTC’s limited resources by requiring the FTC to assess Meta’s production at the same time it




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engages in significant numbers of depositions. The Court should order Meta to provide the FTC

with the information it has requested, and, if appropriate, order completion of the production by

October 31, 2022.

       The parties are in agreement that Meta will make rolling productions at the end of each of

July, August, September, and October.

       The FTC does not object to the production of a privilege log, and any documents that are

“de-privileged” or redacted during the preparation of that log, 45 days after Meta completes its

document production. However, to minimize the possibility that a disproportionate number of

documents will be produced at the same time as Meta’s privilege log, Meta should produce on a

rolling basis responsive documents that it identifies as non-privileged during the course of its

privilege review (i.e., Meta should make rolling productions of “de-privileged” or redacted

documents between the date it substantially completes its production and the date it provides its

privilege log).




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Dated: July 29, 2022                Respectfully submitted,

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